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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                           Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

Defendants.




         DECLARATION OF TRACIE PARRY ON BEHALF OF THE WARNER MUSIC
          PLAINTIFFS IN OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL

            I, Tracie Parry, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

            1.      I am currently employed as Vice President, U.S. Shared Services, for Warner

     Music Inc. (“WMI”). I have held that position or a similar position since 2008. I have personal

     knowledge of the facts set forth below and/or have learned of these facts as a result of my

     position and responsibilities at WMI. If called upon and sworn as a witness, I could and would

     testify competently as to the matters set forth herein.

            2.      Plaintiffs Atlantic Recording Corporation, Bad Boy Records LLC, Elektra

     Entertainment Group Inc., Fueled By Ramen LLC, Nonesuch Records Inc., Roadrunner Records,

     Inc., and Warner Bros. Records Inc. are individual companies under the Warner Music Group

     umbrella (collectively, “Warner Music”).

            3.      I am familiar with the books and records of Warner Music and its record label

     affiliates, including documents such as copyright certificates and agreements pursuant to which




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 Warner Music’s record companies possess rights in the sound recordings at issue in this

 litigation.

         4.      I understand that this declaration is to be submitted to the Court in connection

 with requests for discovery and a motion to compel filed by Defendants Cox Communications,

 Inc. and CoxCom, LLC (collectively, “Defendants” or “Cox”).

               Discovery Concerning Ownership of Warner Music’s Sound Recordings

         5.      Sound recordings are the foundation of Warner Music’s business. In the course of

 regular operations, Warner Music’s routine practice is to obtain copyright ownership of its works

 through registrations with the U.S. Copyright Office or other transactions.

         6.      Warner Music has registered copyrights in tens of thousands of sound recordings

 (both albums and singles). When an album is registered in its entirety, the registration covers all

 of the songs on that album that have not been previously released, and which are themselves

 eligible for copyright protection, which generally is between 10 and 15 songs. Warner Music

 has obtained these copyrights directly by entering into recording agreements with artists, or

 companies with whom the artist has an agreement, or indirectly by acquiring catalogs of sound

 recordings from other companies, or by acquiring other companies (which themselves have

 entered into recording agreements).

         7.      When Warner Music enters into a recording agreement with an artist to create

 sound recordings (often referred to as “master recordings”), the agreement will generally provide

 that the master recording will be created as a “work made for hire” for Warner, such that Warner

 is considered the “author.” However, the recording agreement will also include an assignment

 provision, to the extent the masters are determined not to be a work made for hire. This “belt




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 and suspenders” approach is used to ensure that Warner Music owns the recordings, the creation

 of which it is financing.

         8.         Of course, for any specific sound recording, the so-called “chain of title” of any

 single sound recording may be complicated. There may be agreements with companies which in

 turn have direct agreements with the artist. There may be multiple amendments that relate to a

 specific artist.     There may be assignments between companies.          Locating, reviewing, and

 producing all such documents would be a major undertaking.

         9.         Documents concerning questions, challenges, uncertainties or disputes regarding

 the validity or ownership of Warner Music’s copyrights in sound recordings are also not kept in a

 central location. Warner Music does not maintain a single file or even have a consistent filing

 system for challenges to ownership for their sound recordings.            Searching for documents

 regarding any challenges or disputes regarding the validity or ownership of Warner Music’s

 copyrights would involve numerous employees, including attorneys at each of the record labels

 which are part of Warner Music, and Warner Music’s copyright department, as such files are not

 centrally maintained or even tracked. Further, if a challenge to its ownership or the validity of

 any copyrights had been successful, Warner Music would not include such works in its repertoire

 and, likewise, would not have included such works in this lawsuit.

         10.        When Warner Music has acquired companies or catalogs, the documentation

 relating to such acquisitions can itself be quite voluminous, particularly if the acquisition was of

 an entire company. I understand we have produced or are in the process of producing chain of

 title documents for instances when the copyright certificate lists a name other than a Warner

 Music entity that is a plaintiff in this action. These documents connect Warner Music to the

 name listed on the copyright certificate.




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